
USCA1 Opinion

	




                           United States Court of Appeals
                                For the First Circuit
                                ____________________
            No. 96-2321
                                    JOEY BREWER,
                                Petitioner, Appellee,
                                         v.
                                 CLIFFORD MARSHALL,
                               Respondent, Appellant.
                                ____________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                     [Hon. Patti B. Saris, U.S. District Judge]
                                ____________________
                                       Before
                               Torruella, Chief Judge,
                          Boudin and Lynch, Circuit Judges.
                                ____________________
                      Ellyn H. Lazar
                                   , Assistant Attorney General, with whom
            Scott  Harshbarger, Attorney General, was on brief, for
            appellant.
                      William 
                              A.  
                                 Hahn, with whom   Hahn 
                                                        &amp; 
                                                           Matkov was on
            brief, for appellee.
                                ____________________
                                    July 21, 1997
                                ____________________

                           LYNCH, Circuit  
                                           Judge. Joey A. Brewer, an
            African American Boston police officer, was charged with the
            1988 kidnapping and rape of a fifteen-year-old minority woman.
            During the jury impanelment for his state court trial, the
            prosecutor exercised three rounds of his peremptory challenges,
            including challenges to four black jurors. At the end of these
            three rounds, and after the prosecutor had announced himself
            satisfied, defense counsel objected on the ground that the
            prosecution had purposefully sought to eliminate black
                                                                  jurors.
            The judge overruled the objection on the ground that it should
            have been made earlier, and thus did not require the
            prosecution to meet the merits of the objection. When the
            prosecution struck a fifth black juror the next day, the
            defense promptly objected that this peremptory challenge was
            racially biased. The prosecution presented a nondiscriminatory
            reason for striking the juror, and the court overruled the
            objection on the merits. Brewer was convicted, and the
            conviction was summarily affirmed on appeal by the
            Massachusetts Appeals Court. The Massachusetts Supreme
            Judicial Court declined further review. In November 1993,
            Brewer filed his petition for habeas review.
                       Seven years after the state trial, a federal
            district court issued a writ of habeas corpus, requiring Brewer
                                
            1.  The terms "African American" and "black" are used
            interchangeably.
                                         -2-
                                          2

            to be retried or released. The court ruled that Brewer had, on
            the numbers, made a prima facie case that he had been denied
            his constitutional right to a trial before a jury of his peers,
            which the state no longer had the evidence to rebut, and thus
            there was a violation of   Batson v.  Kentucky, 476 U.S. 79
            (1986). We reverse.
                                         I.
                      We recount the factual background in the light most
            favorable to the verdict. See 
                                         Stewart v. 
                                                    Coalter, 48 F.3d 610,
            611 (1st Cir.), cert. denied, 116 S. Ct. 153 (1995).
                      While on duty early in the morning of October 22,
            1988, Officer Brewer came upon a young woman and her father in
            a parked car in Franklin Park. The prosecution presented
            evidence that Brewer ordered the father to leave the area, put
            the young woman in his police cruiser, drove to another
            location, and raped her. The father had attempted to follow in
            his car but could not keep up. After the rape, Brewer drove
            the victim home and told her to keep quiet. Instead, she
            immediately told her mother and father, who then reported the
            rape to the police. After being treated at a hospital, the
            victim directed police to the scene of the rape. 
                      At the scene, police found half of the girl's school
            class schedule on the ground. Police logs also indicated that
            Brewer had failed to respond to four "priority calls" during
            the time period in which the girl claimed to have been raped.
                                         -3-
                                          3

            Brewer's story was that he interrupted the father having sexual
            intercourse with the daughter, ordered the father to leave, and
            then took the young woman home. Brewer did not arrest the
            father, seek medical attention for the daughter, or file an
            incident report. 
                      Brewer was charged with kidnapping and rape,
            violations of Mass. Gen. Laws ch. 265, SS 26, 22A. Jury
            impanelment for Brewer's trial began on December 15, 1989.
            During the general voir dire, after six jurors had been excused
            for inability to serve, the trial judge inquired about the race
            of the victim. The judge expressed concern that neither side
            had requested a voir dire on the issue of race, and asked
            whether it was an issue in the case. Both the prosecutor and
            the defense counsel responded that it was not. The judge then
            continued with the general voir dire. 
                      After excusing five more jurors who were unable to
            serve, the judge again suspended the proceedings and insisted
            that defense counsel ask Brewer himself whether he wanted a
            voir dire on racial bias. The court, at Brewer's request, then
            proceeded with an individual voir dire on racial and ethnic
            bias after excusing the thirteen remaining jurors who were
            unable to serve. The judge asked each juror, out of the
                                
            2.  The court may have been prompted to make such an inquiry by
            a juror who volunteered during voir dire that he was prejudiced
            and that when he saw the defendant and the court mentioned
            rape, he had become upset.
                                         -4-
                                          4

            presence of other jurors, whether they had any bias or
            prejudice for or against black persons or persons of Hispanic
            origin.
                      At the end of the individual voir dire, one juror had
            been excused due to racial bias; fourteen of the remaining
            prospective jurors were seated in the jury box. The first
            round of peremptory challenges began with the prosecutor, who
            asked that six jurors be excused. Defense counsel did not
            object to any of the challenges. The clerk then excused those
            six jurors. 
                      After six new jurors were seated, a second round of
            challenges began. The prosecutor made two more peremptory
            challenges. Defense counsel did not object. These two
            challenged jurors were excused and then replaced. In the third
            round, the prosecutor challenged one juror. Again, with no
            objection from defense counsel, the challenged juror was
            excused and replaced.
                      Having challenged nine jurors over three rounds, the
            prosecutor informed the court and defense counsel at side bar
            that the Commonwealth stood content. At this point, defense
            counsel for the first time objected on race grounds, saying
            that four of the nine prospective jurors who had been excused
            were black: "We had a fair representation racially of six and
            now we're down to two." 
                                         -5-
                                          5

                      After initially asking the prosecutor to explain his
            reasons for making the challenges, the trial court withdrew its
            request and instructed defense counsel that he should raise his
            objection to a peremptory challenge "at the time the challenge
            is made." 
                      Although the defense counsel complained that he had
            not seen "the pattern emerge until it was completed," he did
            not create a record of the races of the challenged jurors. The
            judge continued with the impanelment, giving defense counsel
            the opportunity to make his own peremptory challenges. Defense
            counsel's challenges resulted in the exclusion of fourteen more
                                
            3.  The relevant colloquy went as follows:
            POMAROLE (prosecutor): The Commonwealth stands content.
            THE COURT: Thank you. Mr. McGee?
            McGEE (defense counsel): At the outset, I'd like to object on
            the record to Mr. Pomarole having taken off four black people
            from the jury. We had a fair representation racially of six
            and now we're down to two.
            THE COURT: Mr. Pomarole --
            POMAROLE: Your honor --
            THE COURT: -- I'm going to ask you give us the reasons for your
            challenges.
            POMAROLE: Your Honor, I'd like to also say at the outset --
            your Honor, I believe I've challenged white people as well as
            black people without respect to gender.
            McGEE: He hasn't responded, judge.
            THE COURT: I know he hasn't yet, sir.
            POMAROLE: I'd have to get my notes, your Honor, with respect
            to the people that I've challenged.
            THE COURT: At this point, Mr. McGee, I'm not going to require
            Mr. Pomarole to give his reasons. But I put you on notice, Mr.
            Pomarole, that, should this issue arise again, sir, I am going
            to ask you to justify your challenge. Mr. McGee, in the future
            you should raise that, sir, at the time the challenge is made. 
                                         -6-
                                          6

            jurors including one man who may have been black,    and the
            exhaustion of the jury pool. 
                      On the second day of jury selection, after the judge
            excused those unable to serve and asked each of the prospective
            jurors about racial bias, the state exercised two peremptory
            challenges. One of the challenged jurors was black. Just
            after that juror was excused and replaced, Brewer's counsel
            objected and then specifically identified the number of the
            black juror at the court's request. The court then, consistent
            with its prior statement, asked the state to explain why it
            made the challenge. The state responded that the juror had two
            children roughly the same age as Brewer and therefore might be
            sympathetic to him. The court rejected the objection. The
            impanelment then continued with defense counsel making the
            remainder of his challenges, and the court excused three more
            jurors. 
                      In the end, only one African American was on the jury
            panel. This sole black juror was randomly chosen to be an
            alternate and did not engage in deliberations. In sum, a total
            of forty-five potential jurors went through the jury box; seven
            were black. There is no evidence as to the total number of
                                
            4.  There was some dispute between the court and defense
            counsel as to whether this juror was black or Hispanic.
            5.  These figures are based on four assumptions: that the four
            jurors challenged by the state on day one of jury selection
            were in fact black, that one of the jurors challenged by the
            defense on day two of jury selection was black, that one juror
                                         -7-
                                          7

            black potential jurors. The government exercised eleven
            peremptory challenges, five of which were against black venire
            members. Brewer used one of his seventeen peremptory
            challenges to strike a black potential juror.
                      Before trial, Brewer filed a motion to dismiss for
            prosecutorial misconduct, arguing that the state had failed to
            disclose material and exculpatory evidence in violation of the
            rule articulated in  Brady v. Maryland, 373 U.S. 83 (1963).
            Brewer complained that the prosecutor had delayed revealing
            test results that were inconclusive as to whether semen found
            in the victim was in fact Brewer's. At a bench conference on
            the first day of trial, the prosecutor had stated that, if
            Brewer were to introduce evidence that he was not the source of
            the semen, the victim would be forced to testify that the
            source was her boyfriend, with whom she had had sexual
            intercourse before the rape. Defense counsel argued that the
            alleged victim's prior unprotected intercourse with her
            boyfriend was exculpatory for his client, because it suggested
            that she might have a motivation for fabrication. Counsel
                                
            challenged by the state on day two was black, and that one
            alternate juror was black. The race of one juror who was
            excused during peremptory challenges because of scheduling
            problems is unknown. There is no clear record of the race of
            these jurors.
                The Commonwealth questioned petitioner's assertions about
            the number of African American venirepersons, but not until the
            federal proceedings. This challenge would have been better
            received if brought during the state proceedings. 
                                         -8-
                                          8

            asked that if the court refused to dismiss the case, that it
            order the Commonwealth to disclose the boyfriend's identity.
            The trial court denied the motion to dismiss and did not order
            disclosure of the boyfriend's identity on the ground that the
            Massachusetts Rape Shield Law prohibits the introduction of a
            victim's sexual history. 
                      On the last day of trial, Brewer presented expert
            testimony that he was not the source of the semen. He then
            testified that when he found the victim and her father in the
            car, she was naked and her father's pants were down, thus
            suggesting that the father was the source of the semen. The
            victim testified on rebuttal that she had had unprotected sex
            with her boyfriend suggesting that the semen was his. Defense
            counsel objected, saying that he had asked for the boyfriend's
            name earlier and was now precluded from making a credibility
            argument. The court declined to revisit the issue. After
            trial, Brewer had blood samples from the boyfriend tested. The
            results indicated that the boyfriend was not the source of the
            semen. Brewer then filed a motion for a new trial based on
            this "newly discovered" evidence. The motion was denied on the
            ground that the defendant had already presented expert
            testimony that he was not the source of the semen.
                                        II. 
                      Brewer was convicted and sentenced to nine-to-twelve
            years' imprisonment for rape and three-to-five years for
                                         -9-
                                          9

            kidnapping, to be served concurrently. He appealed his
            conviction to the Massachusetts Appeals Court. Prior to a
            decision on appeal, he filed a motion for new trial with the
            trial court, arguing,  inter  alia, that the prosecutor had
            impermissibly used peremptory challenges based on race. The
            trial court denied the motion. 
                      Brewer filed an appeal from the denial of the new
            trial motion, which was consolidated with his direct appeal.
            In response to Brewer's arguments, the state argued that, by
            waiting to object until after all four jurors were dismissed,
            Brewer had failed to object in a timely fashion to the state's
            disputed peremptories. In a one-and-a-half page opinion, the
            Appeals Court upheld Brewer's conviction: "Substantially for
            those reasons set out in the Commonwealth's brief and the trial
            judge's memorandum of decision in denying the defendant's
            motion for a new trial, we conclude that there is no basis for
            disturbing the defendant's convictions." 
                      Brewer filed an application for leave to obtain
            further appellate review with the Massachusetts Supreme
            Judicial Court. The request was denied without opinion.
                      Brewer petitioned for a writ of habeas corpus in the
            United States District Court for the District of Massachusetts
            in November 1993. He argued that the prosecution made racially
            motivated peremptory challenges, thereby violating his
            Fourteenth Amendment rights to equal protection and due process
                                        -10-
                                         10

            of law as established in   Batson v.  Kentucky, 476 U.S. 79
            (1986). He also renewed his claim that the state had withheld
            exculpatory evidence in violation of the Brady rule. 
                      The district court denied relief on the 
                                                             Brady claim,
            but found that Brewer had made a prima facie case of
            discrimination under Batson. The district court gave plenary
            review to the question of racial discrimination and relied
            solely on numbers to conclude that a prima facie case was
            established.
                      Engaging in its own statistical analysis, the
            district court concluded that there was a pattern that
            demonstrated a statistical disparity sufficient to establish
            a prima facie case of racial discrimination under 
                                                             Batson. The
            district court noted that when Brewer first made a     Batson
            objection, the prosecutor had exercised nine peremptories, four
            of which were used to excuse four out of six black
            venirepersons. In doing this, the court found that the
            prosecutor used 44% of his strikes in the first round to excuse
            66% of the black persons then impanelled.
                      There were no statistics available as to the racial
            composition of the venire which had been found to be unbiased
            after voir dire or the racial composition of Suffolk County
            from which the venire was drawn. The district court, however,
            estimated that 15% of the entire venire was black based on the
            fact that out of a total of 45 potential jurors who had passed
                                        -11-
                                         11

            through the box, seven were black. Thus, the court reasoned,
            the prosecutor's strike rate against blacks in the first round
            (66%) was several times larger than the population of the
            blacks in the venire (15%). 
                      Applying the new standard of review outlined in the
            Antiterrorism and Effective Death Penalty Act of 1996, Pub. L.
            104-132 ("AEDPA"), the court found that the estimated numbers
            based on the "pattern" of strikes alone constituted a prima
            facie case of discrimination under "clearly established"
            Supreme Court law.
                       The court then ordered an evidentiary hearing to
            allow the state to offer nondiscriminatory reasons for the
            challenges. The state was unable, seven years after the trial,
            to produce any evidence. The prosecutor said that he could not
            recall the reasons and had long since destroyed his trial
            notes. The court granted the writ on      Batson grounds on
            September 30, 1996, but stayed its issuance to allow for an
            appeal. 
                      Seeking clarification, the state returned to Suffolk
            County Superior Court and filed a request for the original
            trial judge to explain her rulings on Brewer's Batson claims.
            After conducting a hearing, the trial judge issued a memorandum
            stating that she had rejected the initial    Batson claim on
                                
            6.  In his appellate brief, Brewer agreed, relying upon the
            district court opinion, that numbers alone can establish a
            prima facie case.
                                        -12-
                                         12

            timeliness grounds. Because the excused potential jurors had
            already left the courtroom, she was unable to observe their
            races and demeanors at the time of the objection. She was
            therefore unable to make a meaningful evaluation of the
            defendant's claim that the prosecutor had made race-based
            peremptory challenges. 
                      Based on this response, the state filed a motion for
            reconsideration in the federal district court, arguing that
            habeas review was barred by procedural default. The court
            found the state's new argument unpersuasive and denied the
            motion, holding that there was no independent and adequate
            state ground. The Commonwealth appeals, arguing,  inter alia,
            that the district court erred in concluding that there was no
            procedural default on the Batson claim. Additionally, Brewer
            contends on appeal that the government's failure to disclose,
            in a timely fashion, the boyfriend's identity deprived him of
            the opportunity to counter the "boyfriend story" in violation
            of his constitutional rights to a fair trial and due process of
            law. 
                                
            7.  Brewer did not, as requested, file an application for a
            certificate of appealability in this court on this issue. Even
            if we treat his appellate brief as such an application, it is
            a close question whether Brewer even meets the standards for a
            certificate of appealability. Because we reject the claim on
            its merits, we pretermit this initial question. See 
                                                                Norton v.
            Mathews, 427 U.S. 524, 530-31 (1976) (where merits can be
            easily resolved in favor of the party challenging jurisdiction,
            resolution of complex jurisdictional issue may be avoided);
            Birbara v. 
                      Locke, 99 F.3d 1233, 1237 (1st Cir. 1996); 
                                                                Caribbean
            Transp. Sys., Inc.
                              v. 
                                 Autoridad de las Navieras de Puerto Rico
                                                                        ,
                                        -13-
                                         13

                                        III.
            The Batson Claim and Limits on Federal Habeas Review
            Independent And Adequate State Grounds
                      The state asserts that review is barred under the
            "independent and adequate state ground" doctrine. Under that
            doctrine, federal courts sitting to hear habeas petitions from
            state prisoners are barred from reviewing federal questions
            which the state court declined to hear because the prisoner
            failed to meet a state procedural requirement.    Lambrix v.
            Singletary, 117 S. Ct. 1517 (1997). In such cases, the state
            judgment is said to rest on independent and adequate state
            procedural grounds.   Harris v.  Reed, 489 U.S. 255 (1989);
            Wainwright v. Sykes, 433 U.S. 72 (1977). Considerations of
            comity and federalism bar the federal court's review. 
                                                                 Lambrix,
            117 S. Ct. at 1522-23 ("A State's procedural rules are of vital
            importance to the orderly administration of its criminal
            courts; when a federal court permits them to be readily evaded,
            it undermines the criminal justice system."). "[A] habeas
            petitioner who has failed to meet the State's procedural
            requirements for presenting his federal claims has deprived the
            state courts of an opportunity to address those claims in the
            first instance."   Coleman v.  Thompson, 501 U.S. 722, 732
            (1991). Without the "independent and adequate state ground"
                                
            901 F.2d 196, 197 (1st Cir. 1990) (assuming existence of
            appellate jurisdiction where jurisdiction uncertain and appeal
            lacked substantive merit).
                                        -14-
                                         14

            doctrine, federal courts would be able to review claims the
            state courts never had a proper chance to consider.  Lambrix,
            117 S. Ct. at 1523. 
                      There are, however, exceptions to the bar on habeas
            review if the prisoner "can demonstrate cause for the default
            and actual prejudice as a result of the alleged violation of
            federal law, or demonstrate that failure to consider the claims
            will result in a fundamental miscarriage of justice." 
                                                                 Coleman,
            501 U.S. at 749-50. 
                      Here, although the state did not raise the procedural
            default issue in the federal habeas court until a motion for
            reconsideration, the district court ruled that it would
            consider the procedural default argument on its merits, in the
            interests of comity. As the district court properly noted, it
            has the authority to consider the procedural default issue 
                                                                      sua
            sponte.  Ortiz v. Dubois, 19 F.3d 708 (1st Cir. 1994),  cert.
            denied, 513 U.S. 1085 (1995); see also Henderson v.  Thieret,
            859 F.2d 492, 493 (7th Cir. 1988). Although belated, the
            Commonwealth did make the argument in the state trial court,
            and the issue was fully briefed both there and here. The
            procedural default issue was also squarely presented to the
            state appellate courts on direct review. 
                      On the merits of the procedural default argument, the
            district court held: "Because the [Massachusetts] Appeals Court
            gave no plain statement as to its reasons for upholding the
                                        -15-
                                         15

            conviction, this Court on habeas corpus review presumes that
            there [are] no independent and adequate state grounds barring
            review." The Commonwealth challenges this finding. We start
            with the doctrine of independent and state grounds, focusing
            first on the question of independence.
            Independence
                      Generally, a federal habeas court defers to a state
            court's articulation of a state law ground for a decision.
            When the state decision "fairly appears to rest primarily on
            federal law or to be interwoven with federal law," the federal
            court presumes there is no independent and adequate state
            ground for the decision.  Coleman, 501 U.S. at 733 (internal
            quotation marks and citation omitted). However, that
            presumption does not apply where, as here, there is no "clear
            indication that [the] state court rested its decision on
            federal law."  Id. at 739-40.
                                
            8.  There are refinements to that doctrine. If, after deciding
            a party is procedurally barred from raising a claim, the state
            court nonetheless reviews the merits for a miscarriage of
            justice and discusses federal law in that context, that limited
            review does not undercut the adequacy and independence of the
            state grounds. Burks v. 
                                    Dubois, 55 F.3d 712, 716 n.2 (1st Cir.
            1995); Tart v.  Massachusetts, 949 F.2d 490, 496 (1st Cir.
            1991).
            9.  While a broad reading of the Supreme Court's decision in
            Harris, 489 U.S. 255, might lead to the conclusion that a
            presumption that the state court decision rests on federal
            grounds or on intertwined state and federal ground applies
            here, 
                 Harris was limited by the Court's subsequent decision in
            Coleman.  See Coleman, 501 U.S. at 735-36. 
                                        -16-
                                         16

                      The one-and-a-half page summary order of the
            Massachusetts Appeals Court is the last expression of opinion
            from the state courts.  The final state court word on the
            matter refers us to the opinion of the trial court and the
            Commonwealth's state appellate brief. The state appellate
            court denied the appeal "substantially for the reasons set
            forth in the Commonwealth's brief and the trial judge's
            memorandum of decision in denying the defendant's motion for a
            new trial." In   Coleman, the state court likewise issued a
            summary order referring to its consideration of all of the
            filed papers, including the briefs of the petitioner and the
            state. The Supreme Court acknowledged that this language
            raised some ambiguity because the briefs referred to federal
            claims.  Id. at 744. But the Court held that such ambiguity
            did not warrant application of a presumption that the state and
            federal claims were intertwined.  See id. 
                       The Commonwealth's brief to the Massachusetts
            Appeals Court argued that the defendant had waived his right to
            challenge the first four black jurors by not making his
            challenge in a timely fashion. Additionally, it argued on the
                                
            10.  The Supreme Judicial Court denied Brewer's application for
            further review without opinion. 
                                        -17-
                                         17

            merits that striking the fifth black juror did not violate the
            Constitution.
                      The trial court's memorandum of decision on Brewer's
            new trial motion was responsive to the arguments presented in
            the motion, which rested "primarily on the grounds of newly
            discovered evidence." Brewer presented only a generalized
            argument about the exclusion of blacks from the jury in his
            motion: "Due to challenges from the prosecution, most black
            jurors were excluded from the jury and none deliberated on the
            verdict." Brewer's motion did not, on its face, challenge the
            earlier ruling that Brewer's objection to the prosecution's
            exercise of peremptories to strike four black venire members
            was untimely. The order of the state judge denying the new
            trial motion may appear at first to be somewhat ambiguous
            because it starts with a statement that the court found no
            support for the contention that the Commonwealth had improperly
            excluded blacks from the jury. However, the part of the state
                                
            11.  The state's brief argued as follows:
                      The defendant waived his right with
                      respect to the four challenged black
                      jurors because he did not object after
                      each challenge, did not make an offer of
                      proof, did not raise the matter until
                      after the four jurors were excused and
                      left, did not request a hearing and did
                      not say anything at all when addressed by
                      the judge, told that she was not going to
                      ask the prosecutor for reasons and given a
                      chance to reply.
                                        -18-
                                         18

            court opinion dealing with the jury selection procedures only
            concerns the challenge by the prosecution of the fifth black
            juror. There is no discussion of defendant's earlier
            objection. In his application for leave to obtain further
            appellate review from the Supreme Judicial Court, Brewer
            admitted that there was no discussion of the legality of the
            exclusion of the four prospective jurors in the trial judge's
            memorandum addressing the new trial motion.
                      There is certainly reason to believe that the basis
            for the ruling as to the timing of the objection to the
            prosecutor's first four peremptories against black jurors was
            an independent state procedural ground.   As a result, we
            consider the state's argument that the state appeals court
            ruling rested on the grounds that the challenge to the
            exclusion of the first four jurors was not timely made and that
                                
            12.  When the Commonwealth sought clarification in 1996, the
            judge who presided over Brewer's state court trial emphasized
            that her ruling on the objection was a result of the timing of
            defense counsel's objection. 
                      As the court stated to defendant's
                      counsel: "[y]ou should raise that at the
                      time  
                           the  
                                challenge  
                                          is  
                                              made." Tr.1-124
                      (emphasis added). Because the court was
                      foreclosed from effectively assessing the
                      challenges and could not ascertain whether
                      the reasons were race neutral, the court
                      withdrew its request to have the
                      Commonwealth explain its challenges. The
                      defendant's claim was rejected on
                      timeliness grounds.
                                        -19-
                                         19

            the challenge to the fifth black juror was valid under the
            Batson standard.  
            Adequacy
                      The "adequacy" of this state procedural ground, for
            federal habeas purposes, is another issue.     Batson itself
            declined to decide when an objection must be made in order to
            be timely and left that matter to be resolved by local law.
            Batson, 476 U.S. at 99-100 &amp; n.24. There are no Massachusetts
            Supreme Judicial Court cases establishing precisely when in the
            sequence of events an objection to a peremptory challenge must
            be made. 
                      Brewer's challenge rests largely on the ground that
            state procedural requirements "cannot be permitted to thwart
            review applied for by those who, in justified reliance on prior
            decisions, seek vindication in state courts of their federal
            constitutional rights." NAACP v. 
                                            Alabama, 357 U.S. 449, 457-58
            (1958). State rules may not procedurally bar a federal court
            from hearing a Batson claim on timeliness grounds if the rule
            is not "firmly established and regularly followed."  Ford v.
            Georgia, 498 U.S. 411, 423 (1991). In Ford, the Supreme Court
            declined to honor a procedural bar where the defense counsel
            had in fact raised the 
                                  Batson issue prior to jury selection. 
                                
            13.  It is not necessary that a state court explicitly state
            that it is resting its decision on state procedural grounds in
            order for the decision to be deemed to rest on "independent and
            adequate state grounds."  See Coleman, 501 U.S. at 735-36. 
                                        -20-
                                         20

                      Ford made clear that state procedures may not
            completely preclude the very opportunity to raise
            constitutional claims.  See also James v. Kentucky, 466 U.S.
            341, 348-52 (1984); Michel v.  Louisiana, 350 U.S. 91, 93-94
            (1955); cf.  Powell v.  Nevada, 511 U.S. 79, 83-84 (1994).
            Brewer argues that requiring a defendant to object to a
            challenge on the ground of a pattern of racially exclusionary
            strikes before the pattern emerges raises constitutional
            issues. For example, he says he should not have had to object
            to the strike of the first black juror on the ground of a
            pattern of racial discrimination if he did not see the pattern
            until the strike of the fourth black juror. If that were what
            happened in this case, we would have considerable sympathy for
            the argument. But that is not what happened. As the state
            trial court said in its clarification memo, any pattern emerged
            at the latest with the strike of the fourth juror; the defense
            should have made its objection at that time rather than waiting
            until later:
                      The defendant's counsel could have raised
                      the issue of impermissible peremptories
                      after the Commonwealth indicated a desire
                      at side bar to excuse the first six
                      jurors, or the next two jurors, or the
                      final juror, and before those jurors were
                      excused but not after the Commonwealth
                      said it was content.
            There is no constitutional impediment to a state procedural
            ruling such as the trial judge stated.
                                        -21-
                                         21

                      Even if there is no constitutional impediment to the
            state procedural rule, the Supreme Court has said that the rule
            must be "firmly established and regularly followed." 
                                                                Ford, 498
            U.S. at 423. The Commonwealth relies on Massachusetts' firmly
            entrenched contemporaneous objection rule.   Commonwealth v.
            Fluker, 385 N.E.2d 256, 261 (Mass. 1979). In cases where
            defense counsel fails to make a timely objection, the state
            does not waive the objection, and the appellate decision rested
            on that ground, that is "a classic example of a procedural
            default, and petitioner can succeed in his habeas case only by
            showing cognizable cause for, and cognizable prejudice from,
            his procedural default or, alternatively, by demonstrating that
            the federal court's failure to address the claim on habeas
            review will occasion a miscarriage of justice."     Burks v.
            Dubois, 55 F.3d 712, 716 (1st Cir. 1995) (failure to object to
            prosecutor's misstatement of evidence at closing precludes
            habeas review); see also Puleio v. Vose, 830 F.2d 1197, 1199
            (1st Cir. 1987).
                      Recognizing the value of contemporaneous objections,
            this court has itself rejected review of Batson claims where
            defense counsel failed to make timely and adequate objection at
            trial. In  United 
                               States v. Pulgarin, 955 F.2d l (1st Cir.
            1992), we rejected direct review where the defense counsel had
            made an aborted attempt at trial to raise a    Batson claim,
            saying:
                                        -22-
                                         22

                      [C]ontemporaneous objection is especially
                      pertinent as to    Batson claims, where
                      innocent oversight can so readily be
                      remedied and an accurate record of the
                      racial composition is crucial on appeal.
            Pulgarin, 955 F.2d at 1. Important institutional concerns are
            advanced by enforcing the contemporaneous objection rule for
            Batson claims.
                      The Commonwealth's common law contemporaneous
            objection rule has a statutory analogue in Rule 22 of the
            Massachusetts Rules of Criminal Procedure, which requires that
            an objection be made at the time of the challenged action.
                                
            14.  We note that there may be tactical reasons why counsel may
            choose to wait before asserting an objection to the other
            side's peremptory challenge. A party may want a particular
            black juror challenged by the other side to be excused for his
            own reasons, but still to claim racial bias. Because the court
            on a promptly made objection to a challenge may choose, after
            examination, to seat the juror if the juror is still available,
            a belated objection made after the juror has left may narrow
            the range of remedies available to the court. Commonwealth v.
            Reid, 424 N.E.2d 495, 500 (Mass. 1981) (trial judge has
            discretion to fashion remedy, including disallowing challenge,
            and is not required to dismiss the entire venire). If the
            juror is no longer physically present, the court's remedial
            options may then be limited to a mistrial and impanelling a new
            jury. Enforcement of the contemporaneous objection rule avoids
            allowing a late-objecting party to have his cake and eat it
            too.
            15.  Mass. R. Crim. P. 22 provides:
                      [I]t is sufficient that a party, at the
                      time the ruling or order of the court is
                      made or sought, makes known to the court
                      the action which he desires the court to
                      take or his objection to the action of the
                      court, but if a party has no opportunity
                      to object to a ruling or order, the
                      absence of an objection does not
                      thereafter prejudice him. 
                                        -23-
                                         23

            The purpose of the objection requirement of Rule 22 is to
            ensure that the alleged error is "brought clearly to the
            judge's attention so that [s]he may squarely consider and
            decide the question."  Commonwealth v. Mosby, 413 N.E.2d 754,
            762 n.4 (Mass. App. Ct. 1980).
                      As she stated in her clarification memorandum, the
            state trial judge felt hampered in her ability to fairly
            evaluate the objection to the peremptory challenges by the
            timing and method of the objection. Defense counsel did not
            refer to the four jurors in question by their juror numbers or
            other identification, but only said that they were black. At
            the time of the objection, those jurors had already been
            excused and had left the courtroom. There is no indication
            (because defense counsel created no record) of where in the
            sequence of the prosecutor's nine peremptory challenges these
            four fell or whether the court or counsel had a clear memory of
            who those jurors were. Nor did counsel create a record of the
            race of the jurors. As the trial judge said, working later
            from her memory:
                      The race or ethnicity of the jurors cannot
                      be definitely known. As defendant's
                      counsel stated during impanelment "I have
                      no way to distinguish between Hispanic and
                      black." Tr. 1-125. The court does recall
                      that there were discussions with counsel,
                      on and off the record, concerning the race
                                
              
                                        -24-
                                         24

                      and ethnicity of various members of the
                      venire.
            The trial judge commented that the lateness of counsel's
            objection -- after all the jurors at issue had left -- meant
            that she had "no opportunity to observe the demeanor or
            appearance or race of the excused jurors or to evaluate
            meaningfully the Commonwealth's challenges."  See also United
            States v. Bergodere, 40 F.3d 512, 517 (1st Cir. 1994).
                      At this general level, there is support for the
            Commonwealth's argument that this case involves an application
            of the contemporaneous objection rule. Even before    Batson,
            Massachusetts, acting under its own Constitution, prohibited
            the racial use of peremptory challenges in 1979.          See
            Commonwealth v.   Soares, 387 N.E.2d 499 (Mass. 1979).
            Subsequent cases made it clear that 
                                              Soares challenges had to be
            made at a time sufficient to "provide[] the trial judge and
            opposing counsel with an opportunity to address the matter.
            This, in turn . . . created a record which was adequate for
            appellate review." Commonwealth v. 
                                              Bourgeois, 465 N.E.2d 1180,
            1186 n.11 (Mass. 1984); cf. Commonwealth v. Smith, 532 N.E.2d
            1207, 1209 (Mass. 1989).  Bourgeois made the record creation
                                
            16.  Our assumption, 
                                arguendo, in light of the state's failure
            to raise it as an issue until late, that seven of the jurors
            were black does not affect the trial judge's view at the time
            that there was some dispute as to the racial identity of the
            jurors and that she would have been assisted on this topic of
            racial identification had the objection been promptly made.
                                        -25-
                                         25

            expectation explicit: "A record in which [the prosecution] has
            not had an opportunity to explain the use of peremptory
            challenges is inadequate to raise a       Soares violation."
            Bourgeois, 465 N.E.2d at 1186; 
                                          see 
                                              also 
                                                   Commonwealth v. 
                                                                   Colon-
            Cruz, 562 N.E.2d 797, 809 (Mass. 1990).
                      In reported Massachusetts cases on peremptory
            challenges, state trial judges have often observed and
            questioned the jurors in the course of evaluating the
            challenges.  See, e.g., Commonwealth v. Latimore, 667 N.E.2d
            818, 824 (Mass. 1996); Commonwealth v. Green, 652 N.E.2d 572,
            575 (Mass. 1995); Commonwealth v. Paniaqua, 604 N.E.2d 1278,
            1280 (Mass. 1992); 
                              Commonwealth v. 
                                             Harris, 567 N.E.2d 899, 903-
            04 (Mass. 1991); Commonwealth v.  Joyce, 467 N.E.2d 214, 218
            (Mass. 1984).  This indicates that, in these cases, the
            objections to the challenges were contemporaneously made.
            Nonetheless, this leaves the matter of whether the trial
            judge's procedural ruling is based on "firmly established and
            regularly followed" rules. 
                      We doubt that the Supreme Court meant that a rule
            could not be "adequate" unless articulated with the level of
                                
            17.  Thus this case appears to be distinguishable from others
            where the defendant could not have been "'deemed to have been
            apprised of [the state rule's] existence.'" 
                                                       See 
                                                           Ford, 498 U.S.
            at 423 (quoting NAACP v. Alabama, 357 U.S. 449, 457 (1958)).
            18.  Trial courts also consider challenges made to similarly
            situated non-black jurors, for comparison purposes, in
            evaluating challenges in the context of claims of racial bias.
            Green, 652 N.E.2d at 577 n.7.
                                        -26-
                                         26

            specificity Brewer contemplates. We are satisfied that counsel
            for Brewer was adequately on notice of the general
            contemporaneous objection rule and of the requirement that a
            record be created sufficient to support review of a    Batson
            claim. That may be enough to satisfy the "adequacy"
            requirement.
                        Brewer, for his part, strenuously contends that the
            trial judge's ruling was not a finding of untimeliness, but a
            determination, on the merits, that he had failed to make a
            prima facie case of discrimination under 
                                                    Batson. We need not
            conclusively resolve whether the trial court's ruling, viewed
            as procedural, would constitute an adequate state ground for
            decision in the sense of being a rule "firmly established and
            regularly followed."    Ford, 498 U.S. at 423-24. Even
            interpreting the trial judge's ruling in the way Brewer wishes
            us to, and thereby reaching the merits of his constitutional
            claim, we find that Brewer's petition is doomed. 
            Brewer's Batson Claims
                      As Brewer urges we do, we view the state trial
            judge's handling of Brewer's Batson claim as a finding that
            Brewer failed to show a prima facie case of discrimination. 
            Brewer's habeas petition nonetheless fails.
                                
            19.  Brewer relies on language in the order denying Brewer's
            new trial motion: 
                      I find no support in the contention that
                      the Commonwealth improperly excluded
                                        -27-
                                         27

                      Because the new standard of review for habeas
            petitions outlined in AEDPA is not applicable to pending non-
            capital cases like Brewer's, 
                                        see 
                                            Lindh v. 
                                                    Murphy, 117 S. Ct. --
            - (1997), we apply the habeas standard of review unaltered by
            AEDPA. Under that standard of review, we review de novo the
            state court decision. Martin v. 
                                           Bissonette, 1997 WL 374793, at
            *3 (1st Cir. July 11, 1997). Within that standard, deference
            is given to fact-based determinations of the trial court. 28
            U.S.C. S 2254(d) (pre-AEDPA version). Decisions of trial
            courts regarding    Batson objections are treated with
            considerable deference. On direct review, the Supreme Court
            has described the ultimate    Batson question -- intent to
            discriminate -- "as a pure issue of fact" subject to clear
            error review.  Hernandez v. New 
                                            York, 500 U.S. 352, 364, 369
            (1991) (plurality opinion);    id. at 372 (O'Connor, J.,
            concurring). That same clear error standard applies to rulings
            on whether the defendant has made a Batson prima facie case.
            Bergodere, 40 F.3d at 516 (because a Batson determination is
            particularly fact-sensitive, it will be accepted unless shown
            to be clearly erroneous). And there is no convincing reason
            why a more lenient standard should govern pre-AEDPA federal
                                
                      minorities from the jury. . . . There was
                      no showing that the Commonwealth was
                      excluding blacks solely by reason of their
                      group membership. 
                                        -28-
                                         28

            habeas review of state court judgments concerning fact-senstive
            Batson determinations. Jones v. 
                                            Jones, 938 F.2d 838, 842 (8th
            Cir. 1991).
                      This deferential approach makes particular sense in
            the 
               Batson context.  See 
                                    Hernandez, 500 U.S. at 365 (plurality
            opinion). The trial judge has heard the juror's answers to
            voir dire questions or bench conferences with the juror (such
            as the individualized voir dire on race bias conducted in this
            very case). The trial judge is thus likely to have a much
            better sense than any appellate panel of whether a particular
            challenge can readily be explained by some reason other than
            race or gender -- for example, other characteristics of the
            juror, the juror's demeanor, or something in the juror's
            background suggesting sympathy for one side or the other. This
            court has recognized that considerable deference is owed to a
            trial judge who observes the voir dire first hand:
                      Evaluative judgments concerning juror
                      suitability are often made partially in
                      response to nuance, demeanor, body
                      language, and a host of kindred
                      considerations. Thus, the trial judge,
                      who sees and hears both the prospective
                      juror and the opposing attorneys in
                      action, is in the best position to pass
                      judgment on counsel's motives. 
            Bergodere, 40 F.3d at 517. 
                      The Supreme Court has not detailed what may
            constitute a prima facie showing under  Batson. Instead, in
            Batson itself, the Court said:
                                        -29-
                                         29

                      For example, a "pattern" of strikes against black
                      jurors included in the particular venire might give
                      rise to an inference of discrimination. Similarly,
                      the prosecutor's questions and statements during
                      voir dire examination and in exercising his
                      challenges may support or refute an inference of
                      discriminatory purpose. These examples are merely
                      illustrative. We have confidence that trial judges,
                      experienced in supervising voir dire, will be able
                      to decide if the circumstances concerning a
                      prosecutor's use of peremptory challenges creates a
                      prima facie case of discrimination against black
                      jurors.
            Batson, 476 U.S. at 97. The Supreme Court has directed trial
            judges to consider "all relevant circumstances" in determining
            whether a prima facie case of racial discrimination has been
            established. Id. at 96-97. The Supreme Court has thus largely
            left the question of what constitutes a prima facie case to the
            wisdom of trial judges themselves. Here, the trial judge, in
            light of all the circumstances, did not require the prosecution
            to state a rationale for these strikes, as would have been done
            if the judge had found a prima facie case of discrimination. 
                      In 
                        Bergodere, this court noted, in rejecting a 
                                                                   Batson
            claim based on the peremptory challenge of the only black
            venireperson, that "[a] defendant who advances a       Batson
            argument ordinarily should 'come forward with facts, not just
            numbers alone.'"  Id. at 516 (citing United 
                                                        States v.  Moore,
            895 F.2d 484, 485 (8th Cir. 1990) and United 
                                                         States v.  Dawn,
            897 F.2d 1444, 1448 (8th Cir. 1990)). The Seventh Circuit has
            similarly expressed reservations about the use of numbers
            alone.  McCain v. Gramley, 96 F.3d 288, 292 (7th Cir. 1996),
                                        -30-
                                         30

            cert. 
                 denied, 117 S. Ct. 1320 (1997); 
                                                see 
                                                    also 
                                                         United States
                                                                       v.
            Ferguson, 23 F.3d 135, 141 (6th Cir. 1994).
                      We need not determine whether statistical disparity
            alone can demonstrate a prima facie case, a position adopted by
            many courts. See, 
                              e.g., 
                                    Turner v. 
                                              Marshall, 63 F.3d 807, 812-
            13 (9th Cir. 1995); United 
                                       States v. Alvarado, 923 F.2d 253,
            255-56 (2d Cir. 1991); see  also 2 LaFave &amp; Israel,  Criminal
            Procedure S 21.3, at 257 n.135.7 (Supp. 1991) (citing cases).
            This case in the trial court might have been regarded as fairly
            close, and the facts  are such that we might have upheld the
            trial judge if she had found a prima facie case. It is enough
            to say that the numbers here, particularly in the absence of
            circumstances suggesting juror bias, judge insensitivity, or
            improper motive by the state prosecutor, were not so blatant as
            to compel the judge to make such a finding. 
                      It is the defendant who carries the burden of
            persuasion regarding the existence of a prima facie case. See
            Bergodere, 40 F.3d at 515. Part of that burden includes the
            duty to show circumstances sufficient, when combined with the
            demonstration that the prosecution's challenge was directed at
                                
            20.  Here, the numbers at first blush may give one pause,
            since, at the time of Brewer's initial objection, the
            prosecution had used four of its nine challenges against
            blacks, thus excluding four of the six blacks seated in the
            jury box (assuming the race of the jurors as Brewer claimed, a
            fact not established). However, the state trial judge had
            observed the process and apparently saw nothing serious enough
            to demand reasoning from the prosecution. 
                                        -31-
                                         31

            a member of a cognizable racial group and the demonstration
            that the challenge was peremptory, to raise an inference that
            the prosecutor struck the venireperson on account of race. 
                                                                      See
            Batson, 476 U.S. at 96;  Bergodere, 40 F.3d at 515-16. The
            trial judge here was not persuaded that such an inference of
            discrimination was raised, and having found no clear error in
            the trial judge's decision, neither are we.
            Fundamental Miscarriage of Justice
                      We note that Brewer does suggest that he is actually
            innocent of this crime. Although this is not a capital case
            where further review may be required, 
                                                Sawyer v. 
                                                          Whitley, 112 S.
            Ct. 2514 (1992), we explain why we think this case works no
            fundamental miscarriage of justice. Under     Batson, if the
            petitioner had established a prima facie case of
            discrimination, the prosecution would have then been required
            to articulate nondiscriminatory reasons for its challenges.
            Purkett, 115 S. Ct. at 1770-71. Here, the prosecution was not
            required to provide such an explanation at the time and was
            unable to recall its reasons when the habeas petition was
            brought seven years later. 
                      There is some reason to think there was no infection
            of the process at all. The trial judge was herself quite
            sensitive to issues of bias -- it was she, and not counsel, who
            initially suggested voir dire as to bias, and she returned to
            the point several times. The venire members were, in the end,
                                        -32-
                                         32

            asked whether they were prejudiced against African Americans or
            Hispanics and one was dismissed for bias. Such a voir dire
            creates a "high probability that the individual jurors seated
            in a particular case were free from bias." 
                                                      Allen v. 
                                                               Hardy, 478
            U.S. 255, 259 (1986) (per curiam). Accordingly, we do not
            think that the factfinding process was tainted, causing a
            miscarriage of justice here.  Id.
                      Of course, the core 
                                         Batson principle is that "states
            do not discriminate against citizens who are summoned to sit in
            judgment against a member of their own race." Allen, 478 U.S.
            at 259. This principle "strengthens public confidence in the
            administration of justice." Id. As to the first four jurors,
            we have no evidence that the Commonwealth was discriminating
            against black venire members. But as to the fifth juror, the
            prosecution did have a valid nondiscriminatory reason for the
            challenge.
            The Brady Claim
                      As to the claim that the boyfriend's identity should
            have been earlier disclosed, we agree with the district court
            that there was no Brady violation. The trial court correctly
            applied federal law, and her factual determinations were
            certainly not clearly erroneous. See 28 U.S.C. S 2254(d) (pre-
            AEDPA version).
                        Brewer did not ask for the boyfriend's identity
            until the first day of trial, and when he did obtain it, he did
                                        -33-
                                         33

            not ask for a continuance to make full use of the information.
            Most important, as the district court so aptly observed, "there
            is no evidence the government knew that the boyfriend's
            identity was potentially exculpatory prior to trial. . . . The
            government believed the boyfriend was the semen donor and that
            this evidence, in itself, was incriminatory rather than
            exculpatory." The rule in    Brady does not typically apply
            unless the prosecutor has knowledge of the exculpatory
            evidence. See, 
                           e.g., 
                                 United States
                                               v. 
                                                  Moore, 25 F.3d 563, 569
            (7th Cir. 1994). 
                      That Brewer later produced evidence that the
            boyfriend was not the source of the semen does not put "the
            whole case in such a different light as to undermine confidence
            in the verdict."   Kyles v.  Whitley, 115 S. Ct. 1555, 1565
            (1995).  Given all the evidence, Brewer has not met his
            burden. 
                      The grant of the writ of habeas corpus is  reversed
            and the writ is vacated.
                                
            21.  As the district court noted, the victim testified Brewer
            penetrated her twice, once with a condom and once without, but
            there was no evidence he ejaculated.
                                        -34-
                                         34


